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Fill in this information to identify the case:

Debtor 1 Brian J. Goodman, Sr.

Debtor 2
(Spouse, if filing)

                                                                               NEW
United States Bankruptcy Court for the:                            District of HAMPSHIRE
                                                                            (State)

Case number 25-10233-KB



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:               U.S. BANK TRUST NATIONAL                          Court claim no. (if known)           10
                                ASSOCIATION, NOT IN ITS INDIVIDUAL
                                CAPACITY, BUT SOLELY AS TRUSTEE
                                OF LSRMF MH MASTER PARTICIPATION
                                TRUST II

Last four digits of any number you                 XXXXXX1022
use to identify the debtor’s account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
   No
   Yes. Date of the last notice:

Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                    Dates incurred                                  Amount

1.      Late charges                                                                                                            (1)    $           0.00
2.      Non-sufficient funds (NSF) fees                                                                                         (2)    $           0.00
3.      Attorney fees                                                                                                           (3)    $           0.00
4.      Filing fees and court costs                                                                                             (4)    $           0.00
5.      Bankruptcy/Proof of claim fees                                                 6/18/2025,                               (5)    $         600.00
6.      Appraisal/Broker's price opinion fees                                                                                   (6)    $           0.00
7.      Property inspection fees                                                                                                (7)    $           0.00
8.      Tax advances (non-escrow)                                                                                               (8)    $           0.00
9.      Insurance advances (non-escrow)                                                                                         (9)    $           0.00

10. Property preservation expenses. Specify:          _____________                                                             (10)   $           0.00
11. Other. Specify:          Plan Review                                               5/2/2025                                 (11)   $        $350.00
12. Other. Specify:          POC 410a History                                          6/18/2025                                (12)   $        $325.00



The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




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Debtor 1        Brian J. Goodman, Sr.                                              Case number (if known)      25-10233-KB
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

           X     /s/Reka Beane                                                                         Date       07/10/2025
                 Signature

Print:           Reka                                                     Beane                        Title      Authorized Agent
                 First Name                   Middle Name                 Last Name

Company          McCalla Raymer Leibert Pierce, LLP

Address          1544 Old Alabama Road
                 Number           Street
                 Roswell                              GA                   30076
                 City                                 State                ZIP Code

Contact phone           954-332-9370                                           Email       Reka.Beane@mccalla.com




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                                  UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEW HAMPSHIRE


In re:                                                                   )
                                                                         )      Case No. 25-10233-KB
Brian J. Goodman, Sr.                                                    )      Chapter 13
                                                                         )
                                                                         )      JUDGE: Kimberly Bacher


                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM
Other                                                                                                                                $350.00

             05/02/2025                                         Review and Analysis of                                   $350.00
                                                                Schedules, Plan, Docket, Loan
                                                                Docs

Other                                                                                                                                $325.00

             06/18/2025                                         Preparation of the POC 410A                              $325.00
                                                                History

Bankruptcy/Proof of Claim Fees                                                                                                       $600.00

             06/18/2025                                         Preparation and Filing of Proof of                       $600.00
                                                                Claim




 TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                                  $1,275.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
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                                                       Bankruptcy Case No.: 25-10233-KB
 In Re:                                                Chapter:             13
          Brian J. Goodman, Sr.                        Judge:               Kimberly Bacher

                                   CERTIFICATE OF SERVICE

      I, Reka Beane, of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy
matter on the following parties at the addresses shown, by regular United States Mail, with
proper postage affixed, unless another manner of service is expressly indicated:

Brian J. Goodman, Sr.
40 Hall St.
Concord, NH 03301

Kathleen McKenzie                              (Served via ECF Notification)
81 S State St
Concord, NH 03301

Lawrence P. Sumski                             (Served via ECF Notification)
Trustee
32 Daniel Webster Highway
Suite 15
Merrimack, NH 03054

Office of the U.S. Trustee                     (Served via ECF Notification)
James C. Cleveland Building
53 Pleasant Street
Suite 2300
Concord, NH 03301

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       07/15/2025       By:    /s/Reka Beane
                    (date)                 Reka Beane
                                           Authorized Agent for Creditor
